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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

     ROBERT B. KUGLER                                  MITCHELL H. COHEN U.S. COURTHOUSE
UNITED STATES DISTRICT JUDGE                            1 John F. Gerry Plaza – Room 6040
                                                              Camden, NJ 08101
                                                                856-757-5019




August 21, 2019


TO: ALL COUNSEL

Re: United States v. Kristie Masucci
    Crim. No. 18-616 (RBK)


Dear Counsel:

Amy Rosenberg, from The Philadelphia Inquirer, has filed a Request for Sentencing
Materials (Doc. No. 20). In accordance with the Protocol for Disclosure of Sentencing
Materials adopted by this Court, I request that counsel for both sides confer to determine
what information is to be redacted from the requested Sentencing Materials.

Thank you.


                                                 Very truly yours,

                                                 s/Robert B. Kugler

                                                 ROBERT B. KUGLER
                                                 United States District Judge
